Case 1:01-cv-12257-PBS Document 6957-2 Filed 03/09/10 Page 1 of 1

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY MDL No. 1456
AVERAGE WHOLESALE PRICE
LITIGATION

THIS DOCUMENT RELATES TO re Action No, 01-CV-12257 PBS
ALL ACTIONS Judge Patti B. Saris

CERTIFICATE IN SUPPORT OF APPLICATION FOR ADMISSION PRO HAC VICE

I, Rohini C. Gandhi, hereby certify pursuant to Local Rule 83.5.3(b) that:

1. I am an attorney admitted to practice before the State Courts of New York. I am
also admitted to practice before the following courts: the State of New Jersey and the United
States District Court for the District of New Jersey;

2. I am currently licensed in good standing to practice law in each jurisdiction in
which I have been admitted;

3. There are no disciplinary proceedings pending against me as a member of the bar
in any jurisdiction;

4. I am familiar with the Local Rules of the United States District Court for the
District of Massachusetts; and

5. I represent the defendant Novartis Pharmaceuticals Corporation (“Novartis”) in
this action.

Signed under the pains and penalties of perjury of the laws of the State of Massachusetts.

felix fav

Rohini C. Gandhi, Esq.

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